294 F.2d 774
    UNITED STATES of Americav.Frank VALLI, Appellant.
    No. 13639.
    No. 13640.
    United States Court of Appeals Third Circuit.
    Submitted October 3, 1961.
    Decided October 10, 1961.
    
      Appeal from the United States District Court for the Eastern District of Pennsylvania; Francis L. Van Dusen, Judge.
      Frank Valli, pro se.
      Joseph S. Lord, 3d, U. S. Atty., James J. Phelan, Jr., Asst. U. S. Atty., Philadelphia, Pa., for appellee.
      Before GOODRICH, STALEY and SMITH, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from an order by the judge of the District Court for the Eastern District of Pennsylvania in which the court denied the appellant's motion to correct a sentence imposed on him April 1, 1958. He contends that he is being subjected to double jeopardy because, he says, a five-year sentence imposed upon him was for a crime which was but an aggravated form of the crime charged in a companion case. In denying the defendant's motion the trial judge correctly cited Harris v. United States, 1959, 359 U.S. 19, 79 S.Ct. 560, 3 L.Ed.2d 597, and United States v. Johnson, 7 Cir., 1956, 235 F.2d 159. This disposes of the case.
    
    
      2
      The judgment of the district court will be affirmed.
    
    